Case 1:22-cv-10602-FDS Document 1-1 Filed 04/21/22 Page 1 of 8



                        Exhibit A
Case 1:22-cv-10602-FDS Document 1-1 Filed 04/21/22 Page 2 of 8
Case 1:22-cv-10602-FDS Document 1-1 Filed 04/21/22 Page 3 of 8
Case 1:22-cv-10602-FDS Document 1-1 Filed 04/21/22 Page 4 of 8
Case 1:22-cv-10602-FDS Document 1-1 Filed 04/21/22 Page 5 of 8
Case 1:22-cv-10602-FDS Document 1-1 Filed 04/21/22 Page 6 of 8
Case 1:22-cv-10602-FDS Document 1-1 Filed 04/21/22 Page 7 of 8
Case 1:22-cv-10602-FDS Document 1-1 Filed 04/21/22 Page 8 of 8
